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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,              )
                                       )
               Plaintiff,              )
      v.                               )    Case No. 19-20052-JAR-JPO
                                       )
FENG TAO                               )
     a/k/a “Franklin Tao,”             )
                                       )
               Defendant.              )


         MEMORANDUM OF DR. FRANKLIN TAO IN SUPPORT OF HIS
       MOTION TO DISMISS THE SECOND SUPERSEDING INDICTMENT
    DUE TO THE GOVERNMENT’S FALSE, MISLEADING, AND PREJUDICIAL
                  STATEMENTS TO THE GRAND JURY
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                                       INTRODUCTION

       A prosecutor has extraordinary influence over the grand jury. The prosecutor selects the

target, drafts the indictment, and determines which witnesses to examine. The prosecutor—

outside the presence of the defendant or defense counsel—can disregard most evidentiary rules,

withhold exculpatory evidence, and unilaterally decide how to advise the grand jury as to the

law. But even within these broad bounds, there are limits beyond which a prosecutor may not go.

       The prosecution cannot obtain an indictment based on testimony that it knows is false or

misleading, or by unfairly inflaming the grand jury against the accused, as these types of

misconduct infringe upon the grand jury’s ability to exercise independent judgment. If the

government commits these types of misconduct, the court should dismiss the indictment if the

misconduct “substantially influenced” the grand jury’s decision to indict, or gives rise to “grave

doubt” that the decision was not free from influence. Bank of Nova Scotia v. United States, 487

U.S. 250, 256 (1988).

       This principle warrants dismissal of the pending Indictment against Dr. Franklin Tao. The

government charged Dr. Tao with a host of federal offenses due to his alleged failure to disclose

in Conflict of Interest forms submitted to the University of Kansas (“KU”), his employer, that he

had purportedly accepted a position at another university in China, Fuzhou University (“FZU”).

To properly obtain the indictments, and putting aside the defects in the government’s legal

theory,1 the government would have needed to persuade the grand jury that Dr. Tao’s alleged

FZU position met the disclosure criteria specified in the Conflict of Interest forms, which

included monetary thresholds and a requirement that the outside position interfere with his KU




1
 Dr. Tao has also filed a parallel Motion to Dismiss the Indictment for Failure to State an
Offense and Lack of Venue, submitted on the same day as the instant motion.

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responsibilities. But the government had no evidence that the position met that criteria, so it

committed three categories of misconduct to obtain the indictments.

       First, the government deliberately mischaracterized the Conflict of Interest forms’

disclosure criteria, such that Dr. Tao’s alleged position at FZU appeared to warrant disclosure in

the forms, when it did not. The government’s sole witness, the FBI Case Agent, did not show the

grand jury the forms, and falsely testified that the Conflict of Interest forms required disclosure

of any outside position, which is contrary to the actual disclosure criteria in the forms. The

government never sought to correct or clarify this misleading testimony, which could only have

been presented by design, since the tactic was repeated before three separate grand juries over

the course of ten months.

       Second, compounding the misleading testimony about the disclosure criteria, the FBI

Case Agent misrepresented and drastically overstated Dr. Tao’s KU responsibilities during the

relevant time period in order to create the misimpression that the alleged FZU position interfered

with Dr. Tao’s KU responsibilities and thus needed to be reported in the Conflict of Interest

forms. Indeed, although the FBI Case Agent had been informed by KU that Dr. Tao bought out

his spring 2019 teaching responsibilities—such that he had no such responsibilities—the case

agent, prompted by the prosecutor, falsely told the grand jury that Dr. Tao’s buy-out attempt was

unsuccessful.

       Third, the government needlessly made irrelevant and highly prejudicial statements to the

grand jury that returned the pending Indictment, in an effort to inflame the grand jury against Dr.

Tao. Without any valid reason, the government elicited testimony from the FBI Case Agent that

an earlier grand jury had already found probable cause that Dr. Tao had committed crimes. This

could only have been meant to predispose the new grand jury to believing there was probable



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cause that Dr. Tao had committed crimes. Separately, the government strongly and falsely

implied to the grand jury that Dr. Tao was a spy for China.

       The cumulative effect of the foregoing misconduct is that the government improperly

influenced the grand jury to indict Dr. Tao. At the very least, this misconduct gives rise to “grave

doubt” about whether the grand jury’s decision to indict Dr. Tao was free from the government’s

influence. Accordingly, Dr. Tao respectfully requests that the Court dismiss the Indictment. Due

to the pattern of misconduct, moreover, dismissal should be with prejudice.

                                        BACKGROUND

       A.      The government charged Dr. Tao with several offenses based on his alleged
               failure to disclose to KU in his employee Conflict of Interest forms that he
               had accepted a position at another university.

       On June 24, 2020, the government filed the operative Second Superseding Indictment

(the “Indictment”), returned by a grand jury sitting in Topeka, Kansas, charging Dr. Tao with

seven counts of wire fraud, in violation of 18 U.S.C. § 1343, and three counts of making false

statements in a matter within the jurisdiction of Executive Branch agencies, in violation of 18

U.S.C. § 1001. ECF No. 77.

       The legal theories among the original Indictment, the Superseding Indictment, and the

Second Superseding Indictment have varied, but the central factual allegations have remained the

same: (1) Dr. Tao allegedly accepted a position at FZU in May 2018, (2) KU’s Conflict of

Interest forms in January and September 2018 required Dr. Tao to disclose the alleged position

he took at FZU, and (3) Dr. Tao knowingly failed to disclose the position to KU in the Conflict

of Interest forms in order to defraud KU. See ECF Nos. 1, 50, 77. For each grand jury to find

probable cause, therefore, the government had to demonstrate that the Conflict of Interest form

disclosure criteria encompassed the alleged position at FZU.



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       B.      The Conflict of Interest forms included specific disclosure criteria, and did
               not require disclosure of all outside positions.

       The January and September 2018 Conflict of Interest forms at issue in this case, attached

hereto as Exhibits A and B, included specific disclosure criteria that determined whether an

employee needed to disclose an outside position, which turned on whether the position met the

definition of a reportable “Significant Financial Interest” or a reportable “Time Commitment.”

See generally Ex. A; Ex. B.

       Under “What to Disclose,” Section 1 of the Conflict of Interest forms provided

“Disclosure Criteria for Significant Financial Interests (SFI).” Ex. A at 4; Ex. B at 4. In pertinent

part, this section provided that the employee should determine whether to disclose a position as a

“Significant Financial Interest” based on the following criteria:




            Ex. A at 4 (Jan. 9, 2018 COI form); Ex. B at 4 (Sept. 25, 2018 COI form)

Under this criteria, for an employee to have a reportable “Significant Financial Interest” in an

outside entity, the interest must be worth at least $5,000. Ex. A at 4; Ex. B at 4. In addition, if the

financial interest consisted of “remuneration,” such as “salary” or “other payments for services,”

the remuneration must have amounted to at least $5,000 received by the employee “in the twelve

                                                   4
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months preceding the disclosure.” Ex. A at 4; Ex. B at 4. Thus, if the employee received salary

through an outside position that did not amount to $5,000 in the twelve months preceding the

disclosure, the employee would have no Significant Financial Interest to report. See Ex. A at 4;

Ex. B at 4.

       Also under “What to Disclose,” Section 2 provided “Disclosure Criteria for Time

Commitments in External Professional Activities.” Ex. A at 4; Ex. B at 4. In pertinent part, this

section provided that the employee should determine whether to disclose a position as a “Time

Commitment” based on the following criteria:




              Ex. A at 4 (Jan. 9, 2018 COI form); Ex. B at 4 (Sept. 25, 2018 COI form)

Under this criteria, for an employee to have a reportable “Time Commitment in External

Professional Activities,” the person must have a current time commitment (i.e., “with which you

engage,” in the present tense) that “take[s] time away from [the employee’s] University

responsibilities.” Ex. A at 4; Ex. B at 4. Thus, if the employee previously engaged or might in the

future engage in external professional activities that did or could potentially take time away from

the employee’s KU responsibilities, those would not be reportable. See Ex. A at 4; Ex. B at 4.

And if the employee currently engages in personal professional activities, but the activities do

not “take time away from” the employee’s KU responsibilities, the employee would have

nothing to report. Ex. A at 4; Ex. B at 4.



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        The disclosure criteria in the Conflict of Interest forms thus inform the employee about

which outside positions or affiliations he or she should disclose. To determine if the forms

required disclosure of an outside position, a grand juror would need to compare the disclosure

criteria in the forms to the details of the outside position, including the amount of remuneration

received in the preceding twelve months and whether the position interfered with the employee’s

ability to satisfy his or her KU responsibilities.

        C.      The government misled the grand jury about the Conflict of Interest form
                disclosure criteria in order to persuade the grand jurors to return an
                indictment against Dr. Tao for failing to disclose the alleged position at FZU.

        Rather than introducing the Conflict of Interest forms to the grand jury or, alternatively,

accurately describing their requirements, the FBI Case Agent—the sole witness to testify—

misled the grand jury about the disclosure criteria in the forms. He testified that the Conflict of

Interest forms required employees to disclose any outside position—irrespective of the

remuneration or time commitment involved—such that Dr. Tao would have needed to disclose

the alleged position at FZU even though the government possessed, and had presented, no

evidence that he received pay from FZU or that the alleged position interfered with his KU

responsibilities.

        The FBI Case Agent’s testimony to the third grand jury fit the pattern of how the

government misled the previous two grand juries on this critical point, demonstrating that it was

not due to inadvertence or mistake. During the first grand jury hearing, on August 21, 2019, the

FBI Case Agent testified that KU employees were required to submit “a conflict of interest

statement,” and “if you have another job as a professor somewhere … that’s a conflict of

interest,” and Dr. Tao “would have been required to disclose” the position in the forms, which

Dr. Tao “would have known” because “he signed” the forms. Ex. C, Grand Jury Hearing Tr. at

6–8, Aug. 21, 2019. The FBI Case Agent emphasized that “the crux of the scheme” was that Dr.

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Tao “knowingly and intentionally submitted [a] false statement denying a lack of conflict of

interest,” when in fact he had one. Id. at 18. The grand jury was neither shown the actual Conflict

of Interest form nor even read precisely what was required.

       The government reprised this deceptive tactic during the second grand jury hearing, on

January 15, 2020.2 The FBI Case Agent testified that KU’s Conflict of Interest policy was “very

broad and allows anything – any time commitment outside of the university to be considered a

conflict of interest, any salary or significant financial interest gained outside the university as a

conflict of interest.” See Ex. D, Grand Jury Hearing Tr. at 16, Jan. 15, 2020 (emphasis added).

He testified in absolute terms that the forms required Dr. Tao to disclose “salary and payments

for services outside the university,” and that any “[c]ommitment of time and money” must also

be disclosed. Id. at 21, 38. He also testified that employees must “declare any outside

employment” in the forms, without qualification, and any “salary from somebody else,” without

mentioning that the employee only needed to disclose the salary if it amounted to $5,000 in the

preceding twelve months before the employee submitted the form. Id. at 55–56, 62. Once again,

the Conflict of Interest forms were neither introduced nor recited verbatim.

       On June 24, 2020, in order to obtain the instant Second Superseding Indictment, the

government once again provided the same false and misleading testimony to the grand jury. The

FBI Case Agent testified that Dr. Tao was required “to disclose any current or prospective

situations that involved potential conflicts of interest or time as soon as they became known.”




2
 The government’s deception during the January 15, 2020 grand jury appearance was even more
aggravated than on August 21, 2019, since the defense had argued in its then-pending Motion to
Dismiss that the alleged position at FZU did not meet the disclosure criteria in the forms. See
ECF No. 30 at 8–10.

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Ex. E, Grand Jury Hearing Tr. at 6, June 24, 2020 (emphasis added).3 He further testified that Dr.

Tao “falsely stated” in his January 9 and September 25, 2018 Conflict of Interest forms “that he

did not have any conflicts” of time or financial interest when in fact his alleged FZU position

constituted a conflict that the form required to be reported. Id. at 27, 29. But, just as with the

prior two grand jury hearings, the FBI Case Agent never informed the grand jury that the

Conflict of Interest forms included specific disclosure criteria that were significantly narrower

than the criteria he described, and the forms themselves were never introduced. Based on this

misleading testimony, the grand jury returned the Second Superseding Indictment, now pending

before the Court.

       D.      The FBI Case Agent misled the third grand jury about Dr. Tao’s KU
               responsibilities in the spring of 2019 in order to obtain the pending
               Indictment.

       Apart from misrepresenting the Conflict of Interest form disclosure criteria during the

third grand jury proceeding, the government also presented false testimony to the third grand

jury about Dr. Tao’s KU responsibilities in the spring of 2019, and created the false impression

that the alleged FZU position interfered with those responsibilities and created a reportable Time

Commitment that Dr. Tao needed to disclose in the forms.

       During the June 24, 2020 grand jury hearing, a grand juror asked the FBI Case Agent

about Dr. Tao’s responsibilities at KU during the spring of 2019. In response, the FBI Case

Agent indicated that Dr. Tao had asked to “buy out” his teaching responsibilities in the spring of

2019, such that he would have no teaching obligations during that time:

       GRAND JUROR So it says here [in the Second Superseding Indictment] that for the

3
  During the June 24, 2020 hearing, the vast majority of the FBI Case Agent’s testimony
consisted of his reading from the Indictment and affirming that he was “personally familiar with
all of the facts” alleged in the Indictment and “everything that [he was] reading to the Grand
Jury,” and he had “painstakingly check[ed] every fact” alleged in the Indictment. Ex. E at 5–6.

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       majority of time between December 11th, 2018 and August 20th, 2019, [Dr. Tao] traveled
       to the PRC where he fulfilled his contractual obligations [at FZU]. What did KU think he
       was doing during that time? Did they think he was on sabbatical or what did they think he
       was doing? Because he obviously wasn’t in Lawrence.
       [FBI CASE AGENT]: I don’t know that I can speak to what KU thinks he was doing. He
       did request a semester buy-out from KU. … So professors … are required to teach classes.
       And if they want to focus more on their research, they can request a buy-out of their course.
       So that’s what was going on during that period.

Ex. E at 22–23. Apparently dissatisfied with this highly exculpatory testimony, the prosecutor

promptly interjected and encouraged the FBI Case Agent to reverse his testimony:

       [PROSECUTOR]: Hang on. Let me focus that just a little bit, if you don’t mind. So he
       requested a buy-out, but you didn’t say that KU granted him a buy-out, correct?
       [FBI CASE AGENT]: I did not … They did not grant him a buy-out.
       [PROSECUTOR]: So although Dr. Tao applied for a buy-out of his teaching obligations
       that semester, KU never granted it, correct?
       [FBI CASE AGENT]: That is – I can’t say – they did not grant it from the department
       chair or the Provost, which is the normal process. I don’t know how it ended up, but they
       didn’t.
       [PROSECUTOR]: Would it be accurate to say, though, that from KU’s perspective Dr.
       Tao was contractually obligated to be a full-time professor at KU during that time period?
       [FBI CASE AGENT]: Yes.

Id. (emphasis added). Having received this obvious prompt, the FBI Case Agent thus reversed

his testimony and stated that although Dr. Tao had sought a buy-out from KU, his department

chair never approved it. See id.

       The FBI Case Agent’s testimony was false, as the government well knew. Indeed, on

June 25, 2018, well before Dr. Tao had to submit his September 25, 2018 Conflict of Interest

form, the Chair of the Chemical and Petroleum Engineering Department at KU approved Dr.

Tao’s buy-out request for the spring of 2019, in writing, contrary to the FBI Case Agent’s

testimony. See Ex. F. Both the FBI Case Agent and the prosecutor were well aware of this fact

because KU had emailed the government a copy of the communication on December 23, 2019,

and the FBI Case Agent also interviewed Dr. Tao’s Department Chair on January 7, 2020, who

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told the FBI Case Agent that he “believed the buyout was successful.” Ex. G. According to the

FBI Case Agent’s notes from the meeting, moreover, the Department Chair stated during the

interview that he understood that Dr. Tao was not on campus during the spring of 2019, and, if

Dr. Tao were not present when he should have been, the Department Chair would have received

reports from students to that effect, but received none. Ex. H. Thus, despite both the witness and

the prosecutor knowing that Dr. Tao’s Department Chair had approved Dr. Tao’s buy-out for the

spring of 2019, the FBI Case Agent testified just the opposite to the grand jury in response to a

grand juror’s specific question on this topic. Ex. E at 22–23. This testimony led the grand jury to

falsely believe that Dr. Tao had teaching responsibilities at KU in the spring of 2019, when in

fact the government knew he did not, thereby influencing the grand jury’s judgment as to

whether Dr. Tao’s alleged position at FZU interfered with Dr. Tao’s KU responsibilities at that

time.

        E.     The prosecutor made inappropriate statements to the third grand jury to
               obtain the pending Indictment.

        In addition to the false and misleading testimony recounted above, the prosecutor made

inappropriate comments to the grand jury during the June 24, 2020 hearing that led to the

pending Indictment.

        At the outset of the June 24, 2020 hearing, without any legitimate reason, the prosecutor

elicited testimony from the FBI Case Agent that Dr. Tao had been “originally indicted” in

August 2019. Ex. E at 3. The only conceivable reason to elicit this testimony would be to help

convince the new grand jury that because a prior grand jury had already found probable cause

that Dr. Tao had committed crimes, the new grand jury should do the same.4



4
  This was no fluke. The prosecutor had also told the second grand jury that Dr. Tao had been
indicted by the first grand jury. See Ex. D at 3 (“Q. And you presented an indictment to a

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       Also during the June 24, 2020 grand jury hearing, the FBI Case Agent gave the false

impression that the Department of Justice believed Dr. Tao was a spy for China. At the

beginning of the hearing, the FBI Case Agent told the grand jury that he was “assigned to the

counterintelligence squad out of Kansas City that deals with violations that you will see here.”

Ex. E at 2 (emphasis added). Of course, as most civilians appreciate, counterintelligence involves

the investigation, identification, and prosecution of spies. By testifying that Dr. Tao’s

“violations” were the business of the Counterintelligence Squad, the FBI Case Agent implied to

the grand jury that Dr. Tao was a spy. Further promoting this false impression, the FBI Case

Agent then testified at length about the “rapid growth” of China, achieved through “talent plans,

which were designed to encourage the transfer of original ideas and intellectual property from

the U.S. universities to the PRC Government institutions,” and the Chinese Communist Party,

and “enhance” China’s “economic prosperity and national security.” Id. at 13–16. He also

showed the grand jury the Second Superseding Indictment, which included seven irrelevant

paragraphs about China and the Communist Party. ECF No. 75 ¶¶ 16–21. Having given the

impression that the government believed Dr. Tao was a spy for China—despite their being no

evidence that Dr. Tao improperly disclosed any information to anyone, or that he was a member

of the Communist party—a grand juror naturally asked: “So is he being charged with double-

dipping or espionage?” Ex. E at 24 (emphasis added). Rather than immediately disabusing the

grand jury of the notion that the government suspected Dr. Tao to be a spy for China—an

impression that it had deliberately and artfully conveyed to the grand jury—the prosecutor




different grand jury in Topeka a few months ago, correct? A. That is correct. Q. And we’re back
today with a superseding indictment, correct? That is correct.”).

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     refused to give a direct answer to this question and instead said: “Well, if you’ll give us a little

     time, we’ll work our way through the rest of the Indictment. Okay? Any other questions?” Id.5

                                                ARGUMENT

I.          The Court should dismiss the Second Superseding Indictment because the
            government’s materially false and misleading testimony, and prejudicial comments,
            substantially influenced the grand jury’s decision to indict.

            The government’s deliberately false and misleading testimony regarding its central

     factual allegations, combined with its highly prejudicial and irrelevant statements about Dr. Tao

     meant to inflame the jury, substantially influenced the grand jury’s decision to return the pending

     Indictment. At the very least, this misconduct gives rise to grave doubt about whether the grand

     jury’s decision to indict Dr. Tao was free from the government’s improper influence. The Court

     should therefore dismiss the Indictment under Federal Rule of Criminal Procedure 12(b)(3).

            A.      The Court should dismiss the Indictment if government misconduct before
                    the grand jury “substantially influenced” the decision to indict, or gives rise
                    to “grave doubt” that the decision to indict was not free of such influence.

            Federal Rule of Criminal Procedure 12(b)(3) “permits a criminal defendant to seek

     pretrial dismissal based on ‘an error in the grand-jury proceeding.’” United States v. Brown,

     5:19-CR-40081-HLT, 2020 WL 4347258, at *3 (D. Kan. July 29, 2020) (quoting Fed. R. Crim.



     5
       Given these improper statements, Dr. Tao has grave concerns that the prosecutor made other
     inappropriate statements to the grand jury that could have influenced its decision to return the
     pending Indictment. The government has largely obscured this information from the defense,
     however, as it heavily redacted the prosecutor’s communications with the grand jurors from all
     three grand jury hearing transcripts. If the Court declines to grant the instant Motion to Dismiss
     on the existing record, therefore, the defense requests that the Court will alternatively require the
     government to submit unredacted versions of the transcripts ex parte to the Court for in camera
     review, so that the Court can determine if additional statements by the government may be
     improper and should be disclosed to the defense. See Fed. R. Crim. P. 6(e)(3)(E). The defense
     has a “particularized need” for such information in the circumstances so that it can see if
     additional statements by the prosecutor may have contributed to influencing the grand jury’s
     decision to indict, a need that outweighs any public interest in keeping the prosecutor’s improper
     statements secret. In re Special Grand Jury 89-2, 143 F.3d 565, 570 (10th Cir. 1998).

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P. 12(b)(3)). To obtain dismissal, the defendant must demonstrate “that he was prejudiced as a

result of the error,” by showing “that the alleged error ‘substantially influenced the grand jury’s

decision to indict, or … there is grave doubt that the decision to indict was free from the

substantial influence of such violations.’” Id. (citing Bank of Nova Scotia, 487 U.S. at 256); see

also United States v. Cooper, 396 F. Supp. 3d 992, 994 (D. Kan. 2019) (noting that the prejudice

requirement “comport[s] with the harmless error inquiry prescribed by Federal Rule of Criminal

Procedure 52(a)”).

       The Tenth Circuit has held that courts “may dismiss an indictment ‘for prosecutorial

misconduct which is flagrant to the point that there is some significant infringement on the grand

jury’s ability to exercise independent judgment.’” United States v. Hillman, 642 F.3d 929, 933–

34 (10th Cir. 2011) (quoting United States v. Pino, 708 F.2d 523, 530 (10th Cir. 1983)). This

includes situations where the “grand jury’s independent judgment is compromised” because “the

prosecutor’s misconduct invade[d] the grand jury’s independent deliberative process and

substantially affect[ed] its decision to indict.” Id. “The common thread” in cases where dismissal

is appropriate “is that they require a showing the government deliberately attempted to influence

the grand jury with false testimony.” Cooper, 396 F. Supp. 3d at 994.

       Dismissal is appropriate in these cases in part because the government is partially

entrusted with maintaining the historic independence of the grand jury, which has eroded over

time, and courts must ensure that the government strictly does so. As the Second Circuit

explained in United States v. Hogan:

       It is true of course that prosecutors, by virtue of their position, have gained such
       influence over grand juries that these bodies’ historic independence has been
       eroded. After all, it is the prosecutor who draws up the indictment, calls and
       examines the grand jury witnesses, advises the grand jury as to the law, and is in
       constant attendance during its proceedings. Nonetheless, there remain certain
       limitations on the presentation that a prosecutor may make to the grand jury. In fact


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       the gain in prosecutors’ influence over grand juries is all the more reason to insist
       that these limitations be observed strictly. Due process considerations prohibit the
       government from obtaining an indictment based on known perjured testimony.
       Courts have also held that a prosecutor may not make statements or argue in a
       manner calculated to inflame the grand jury unfairly against an accused. Under the
       applicable guidelines prosecutors have an ethical obligation strictly to observe the
       status of the grand jury as an independent legal body. In short, a prosecutor as an
       officer of the court is sworn to ensure that justice is done, not simply to obtain an
       indictment.

712 F.2d 757, 759–60 (2d Cir. 1983) (citations omitted).

       For example, this past year in United States v. Cooper, Judge Crabtree dismissed an

indictment charging a defendant with aggravated sexual abuse because a witness made a

misrepresentation to the grand jury about the results of an alleged victim’s forensic exam, which

the prosecutor did not correct. 396 F. Supp. 3d at 993, 997. The witness falsely testified that the

results of the exam “were indicative of … some form of penetration,” and the prosecution, which

had access to the results, “did not correct [the agent’s] testimony during the grand jury

proceedings.” Id. at 993, 995–96. The government argued that the defendant suffered no

prejudice, because the agent also testified about the alleged victims’ reports of the abuse, but the

court rejected this argument, finding that the false testimony regarding penetration went “directly

to an element” of the charged crime, giving the court “grave doubt” about “whether the grand

jury’s decision was free from [the agent’s] uncorrected false statement.” Id. at 996.

       Similarly, in United States v. Peralta, a federal district court dismissed an indictment

after the defense learned at trial that the sole case agent to testify before the grand jury had made

inaccurate statements based on hearsay. 763 F. Supp. 14, 21 (S.D.N.Y. 1991). The court

concluded that, in conjunction with misleading statements of law made by the prosecutor to the

grand jury, the agent’s inaccurate hearsay testimony to the grand jury “seriously prejudiced” the

defendant, warranting dismissal. Id. at 21. In reaching its conclusion, the court in Peralta also

expressed serious concern with the government’s practice of presenting testimony of only a

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single case agent, which may appear “smooth, well integrated and consistent, making even weak

cases appear strong,” but “threatens the independence of the grand jury function” and is also

“indicative of an unduly casual attitude with respect to the presentation of evidence to a grand

jury.” Id. at 20 (internal quotation marks omitted); accord United States v. Brito, 907 F.2d 392

(2d Cir. 1990).

       B.         The FBI Case Agent’s materially false and misleading testimony, and the
                  prosecutor’s highly prejudicial and irrelevant questions and comments,
                  substantially influenced the grand jury’s decision to indict Dr. Tao, or at
                  least give rise to “grave doubt” that they did.

       Applying the principles set forth above, the Court should dismiss the pending Indictment

because the government “deliberately attempted to influence the grand jury” with the FBI Case

Agent’s false and misleading testimony, Cooper, 396 F. Supp. 3d at 994, and through the

prosecutor’s irrelevant and highly prejudicial questions and comments about Dr. Tao, all during

the June 24, 2020 hearing. Individually and cumulatively, this misconduct “substantially

influenced” the grand jury’s decision to indict Dr. Tao, or at least gives rise to “grave doubt” that

it did. Brown, 2020 WL 4347258, at *3.

       First, the FBI Case Agent’s testimony that the Conflict of Interest forms required Dr. Tao

to disclose any outside position—and his concealment of the actual Conflict of Interest forms

and their specific disclosure criteria—left the grand jury with the false impression that the

Conflict of Interest forms required Dr. Tao to disclose his alleged position at FZU, without

needing to know the specific compensation Dr. Tao received, or whether the position took time

away from Dr. Tao’s KU responsibilities. In reality, however, the forms did not require

disclosure of any outside position; they required disclosure of an outside position only if Dr. Tao

had received $5,000 or more from the position in the twelve months preceding the disclosure (the

disclosure criteria for a reportable “Significant Financial Interest”), or if the position took time


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away from his KU responsibilities (the disclosure criteria for a reportable “Time Commitment”).

The government misrepresented the disclosure criteria because it had no evidence that showed

that the alleged FZU position satisfied the disclosure criteria. This was no innocent mistake. The

government had repeated this same tactic before three consecutive grand juries over a ten-month

period. See Ex. C at 6–8; Ex. D at 16, 21, 38, 55–56, 62.

        Second, this misleading testimony was compounded when the FBI Case Agent provided

false testimony about Dr. Tao’s responsibilities at KU in the spring of 2019, giving the false

impression that Dr. Tao’s alleged FZU position interfered with those purported teaching duties

and thus needed to be reported in the Conflict of Interest forms. The FBI Case Agent falsely

testified that Dr. Tao’s Department Chair had rejected his buy-out request for the spring of

2019—even though the FBI Case Agent and the prosecutor had both documentary and

testimonial evidence that this was untrue—in order to persuade the grand jury that Dr. Tao’s

alleged work at FZU must have conflicted with his KU responsibilities and created a significant

conflict of interest.

        Third, the prosecutor’s comment during the June 24, 2020 grand jury hearing—to a brand

new grand jury—that Dr. Tao had already been indicted served to unfairly prejudice and inflame

the grand jury against Dr. Tao. There was no valid reason to tell the new grand jury that a prior

grand jury had already found probable cause to indict Dr. Tao for federal crimes. This comment

had the effect of predisposing the new grand jury to indict Dr. Tao based on the prior grand

jury’s probable cause determination. See, e.g., United States v. Leeper, No. 06-CR-58A, 2006

WL 1455485, at *4 (W.D.N.Y. May 22, 2006) (reasoning that the new grand jury was “most

certainly predisposed to indict after hearing that a prior grand jury—upon hearing the same

evidence—had found sufficient probable cause to indict”). And that prior probable cause finding



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was itself flawed, as discussed above. This, too, was no innocent mistake, as the same prosecutor

had made a substantially similar comment to the second grand jury during the January 15, 2020

hearing in order to obtain that indictment. See Ex. D at 3.

       Fourth, the FBI Case Agent and the prosecutor’s collective statements to the grand jury

deliberately gave the false impression that Dr. Tao was a spy for China, also prejudicing Dr. Tao

and unfairly inflaming the grand jury against him. The FBI Case Agent told the grand jury that

he was part of the Counterintelligence Squad, which most people understand to mean he tries to

identify and prosecute spies. He then told the grand jury that the Counterintelligence Squad

“deals with violations you will see here,” Ex. E at 2, implying that Dr. Tao was a spy for China.

Moreover, the FBI Case Agent testified, and showed seven paragraphs of an Indictment that

alleged, that China had used talent programs to recruit scientists who might steal intellectual

property and transfer it to China and the Chinese Communist Party, Ex. E at 13–16; ECF No. 75

¶¶ 16–21, even though those allegations had nothing to do with the evidence presented against

Dr. Tao. The testimony had its intended effect, as a grand juror asked whether Dr. Tao was

accused of “espionage.” Ex. E at 24. Rather than cure the obvious and prejudicial misimpression,

the prosecutor refused to answer directly, permitting the suspicion to infect the proceedings. Id.

Thus, the government deliberately led the grand jury to conclude that Dr. Tao was believed by

the government to be a spy for China who had stolen intellectual property from KU, which is

false. This implicit accusation was extraordinarily prejudicial to Dr. Tao, as the grand jury would

naturally have believed that if it did not indict him on the fraud and false statements charges, it

would be letting a Chinese spy, who had already been indicted once before, go free in the midst

of a heated trade war with China. The cumulative effect of this testimony was thus devastating.




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       Like in Cooper, the FBI Case Agent’s false and misleading testimony about the

disclosure criteria in the Conflict of Interest forms, and about Dr. Tao’s KU responsibilities in

the spring of 2019, severely prejudiced Dr. Tao because the false testimony went “directly to an

element” of the charged offenses. Cooper, 396 F. Supp. 3d at 996. Specifically, the government

used this false and misleading testimony to convince the grand jury that Dr. Tao’s Conflict of

Interest forms included misrepresentations, which formed the basis for its charges, when in fact

they did not. If the government had accurately described the disclosure criteria in the Conflict of

Interest forms, the grand jury would likely have asked if there was evidence that FZU had paid

Dr. Tao $5,000 or more in the twelve months preceding his submission of a Conflict of Interest

form, or if the alleged FZU position had interfered with Dr. Tao’s KU responsibilities. But by

hiding the forms and their criteria from the grand jury, the government avoided these questions,

which otherwise would have prevented it from establishing probable cause. The government’s

statements that Dr. Tao had already been indicted by a prior grand jury, and its insinuations that

he was a spy for China, poured gasoline on the fire, inflaming the grand jury against Dr. Tao.

Thus, just as in Cooper, the government’s misconduct either “substantially influenced” the grand

jury’s decision to indict, or at least gives rise to “grave doubt” that its decision was not free from

the government’s improper influence.

       Accordingly, because the government infringed upon the grand jury’s independence by

deliberately presenting materially false and misleading testimony, and making irrelevant and

highly prejudicial statements about Dr. Tao meant to unfairly inflame the jury against him, the

Court should dismiss the pending Indictment.

                                          CONCLUSION

       As the court stated in Hogan, “a prosecutor as an officer of the court is sworn to ensure

that justice is done, not simply to obtain an indictment.” 712 F.2d at 760. The government in this

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case disregarded that cornerstone of our criminal justice system, which protects the rights of the

accused while ensuring that the citizenry has confidence in the propriety of the grand jury system

as a whole.

       With the government’s misconduct exposed, it is incumbent upon the Court to safeguard

Dr. Tao’s rights and ensure that confidence in the grand jury system remains strong, by

dismissing the pending Indictment with prejudice. Dismissal should be with prejudice because,

in addition to the reasons stated in Dr. Tao’s parallel Motion to Dismiss for Failure to State an

Offense and Lack of Venue filed herewith, the government has repeatedly committed

misconduct before three different grand juries to obtain indictments against Dr. Tao, protracting

this case for a year and draining Dr. Tao’s resources—all despite that an independent grand jury,

free of the government’s improper influence, never would have indicted him in the first place.

       Although the existing record provides a sufficient basis for the Court to dismiss the

Indictment, if the Court is not prepared to dismiss the Indictment on the existing record, Dr. Tao

respectfully requests that the Court order the government to submit unredacted versions of the

three grand jury transcripts ex parte for in camera review by the Court. See supra note 5. That

way, the Court can determine if additional portions of the transcripts should be disclosed to the

defense, such that the defense can supplement this Motion as appropriate before the Court rules.




                                      [Signature on following page]




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Dated: August 14, 2020                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of August, 2020, I electronically filed the foregoing

Memorandum in Support of Motion to Dismiss the Second Superseding Indictment with the Clerk

of the Court using the CM/ECF system.


                                        /s/ Thomas H. Johnson
                                        Thomas H. Johnson
